Case 19-43402-mxm11 Doc 109 Filed 09/13/19            Entered 09/13/19 12:44:18       Page 1 of 7



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  PROPOSED COUNSEL FOR THE OFFICIAL
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

                                                     §
   In re:                                            §
                                                     §   CASE NO. 19-43402-mxm11
   Rooftop Group International Pte. Ltd.,            §
                                                     §
                 Debtor.                             §   CHAPTER 11
                                                     §

   OBJECTION BY THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
         TO DEBTOR’S MOTION FOR AN ORDER (A) AUTHORIZING A
    PUBLIC AUCTION FOR THE SALE OF CERTAIN ASSETS FREE AND CLEAR
        OF ALL LIENS, CLAIMS AND ENCUMBRANCES; (B) APPROVING
     PROCEDURES FOR THE SOLICITATION OF BIDS; (C) APPROVING THE
  STALKING HORSE BID AND RELATED BID PROTECTIONS; (D) AUTHORIZING
         THE SALE OF ASSETS; AND (E) GRANTING RELATED RELIEF
                          [Relates to Docket No. 44]

 TO THE HONORABLE BANKRUPTCY JUDGE:

        The Official Committee of Unsecured Creditors (the “Committee”) of Rooftop Group

 International Pte. Ltd. (the “Debtor”), by and through its proposed counsel, hereby submits this

 Objection (the “Objection”) to the Debtor’s Motion for an Order (a) Authorizing a Public

 Auction for the Sale of Certain Assets Free and Clear of All Liens, Claims and Encumbrances,
Case 19-43402-mxm11 Doc 109 Filed 09/13/19               Entered 09/13/19 12:44:18         Page 2 of 7



 (b) Approving Procedures for the Solicitation of Bids; (c) Approving the Stalking Horse Bid

 and Related Bid Protections; (d) Authorizing the Sale of Assets; and (e) Granting Related Relief

 (the “Bid Procedures and Sale Motion”) [Docket No. 44], and respectfully represents as

 follows:

                                         BACKGROUND

        1.      On April 30, 2019, the Debtor filed a voluntary petition for relief under chapter

 11 of the Bankruptcy Code. The Debtor continues to operate its business and manage its

 property as debtor-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        2.      On June 13, 2019 the Office of the United States Trustee (“U.S. Trustee”) filed

 its Appointment of the Official Unsecured Creditors’ Committee [Docket No. 24] thereby

 appointing the Committee in this Bankruptcy Case.

        3.      On July 9, 2019 the U.S. Trustee filed its Amended Appointment of the Official

 Unsecured Creditors’ Committee [Docket No. 46], appointing the three members who comprise

 the Committee in its current form: Brian Duglash, PICA Australia Pty., Ltd., and Begaline

 Limited.

                                           OBJECTION

        4.      The Bid Procedures and Sale Motion contemplates a sale by auction of

 substantially all of the Debtor’s assets, principally including all of the Debtor’s patents,

 trademarks, and other intellectual property and related licenses or other executory contracts

 and unexpired leases.

        5.      The Committee and its (recently selected) proposed counsel are moving quickly

 to get their arms around the Debtor’s case, and thus far have identified various reasons why a

 sale of the Debtor’s intellectual property licenses may not be in the best interests of the Debtor’s



                                                   2
Case 19-43402-mxm11 Doc 109 Filed 09/13/19               Entered 09/13/19 12:44:18         Page 3 of 7



 estate and creditors, at least not at this juncture in the case without having explored alternatives

 to selling substantially all of the Debtor’s assets. For example, based upon the information the

 Committee has at this point, it is highly unlikely, if not impossible, for the Debtor to reorganize

 as any kind of a going concern if substantially all of its assets are sold. The Committee

 understands that ultimately there may simply be no realistic possibility for the Debtor to

 reorganize, but the Committee submits that there should at least be some degree of substantive

 discussions with the Debtor and other major stakeholders about any reorganization possibilities.

 The Committee has already had limited preliminary discussions with the Debtor about some

 high level plan structures and possibilities, and the Committee is keenly interested in engaging

 in detailed substantive discussions with the Debtor and other key stakeholders as appropriate to

 explore a potential framework for a consensual plan in this case.

        6.      The Committee recognizes that it may ultimately conclude that a sale of

 substantially all of the Debtor’s assets may be in the best interests of the Debtor’s estate and

 creditors, but the Committee submits that in such a case there needs to be appropriate marketing

 efforts put in place and implemented in order to maximize the value of any such sale. Presently

 the Debtor’s past marketing efforts and anticipated future efforts to market its assets for sale are

 deficient and wholly inadequate under the circumstances.

        7.      The Committee also has identified a number of troubling questions and open

 issues surrounding the multiple connections and relationships between the Debtor’s proposed

 stalking horse bidder, Fortune 8, and the Debtor’s principal Darren Matloff, as well as the

 Debtor itself, and certain debtor affiliates. These connections and relationships include, but

 may not be limited to, numerous loans, payments, and business transactions among the parties

 in various forms.



                                                   3
Case 19-43402-mxm11 Doc 109 Filed 09/13/19                Entered 09/13/19 12:44:18          Page 4 of 7



        8.      There are other deficiencies in the proposed bidding procedures such as the

 failure to include the Committee as a consultation party on all aspects of the bidding procedures,

 and the failure to provide the requirement that (a) all bids be provided to the Committee; and

 (b) the Debtor consult with the Committee in determining who is a “qualified bidder,” and, after

 an auction, who has made the “highest and best bid.” The Committee also has concerns and

 questions about the appropriateness of the proposed expense reimbursement to Fortune 8 (if it

 ultimately is approved as the stalking horse bidder) under the circumstances. The Committee

 has had preliminary discussions with the Debtor about these and other concerns the Committee

 has with the proposed bidding procedures, and is hopeful and reasonably confident that a

 consensual resolution can be reached in the event the Committee ultimately determines that a

 sale of the Debtor’s assets is in the best interest of the Debtor’s estate and creditors.

        9.      The Debtor has represented to the Committee that it anticipates receiving

 approximately $600,000 in revenue between now and April 2020 just from the Amax license

 alone with the first Amax payment due in October 2019. Thus, there is zero prejudice to any

 party if the Bid Procedures and Sale Motion hearing is continued for a period of time in light of

 what the Committee believes is an extremely low ball stalking horse bid offer of $500,000. The

 Debtor itself stated in the Bid and Procedures Sale Motion that revenue from the Amax license

 alone generates $0.8 to $1.2 million in gross revenue per year. It is readily apparent that regardless

 of what multiple is applied to this annual revenue stream, the net present value of receiving the

 revenue stream from this single license far exceeds by many magnitudes the proposed stalking

 horse bid amount. Accordingly, in the event there is ever any auction for the Debtor’s assets, it

 is entirely unclear to the Committee why a bidder offering only $500,000 is justified in being

 awarded “stalking horse bidder” status with associated break-up fee protections.



                                                    4
Case 19-43402-mxm11 Doc 109 Filed 09/13/19                Entered 09/13/19 12:44:18         Page 5 of 7



        10.     In conclusion, the Committee submits that rather than prematurely litigating these

 issues now, the far better course of action for all parties is to continue the hearing for a period of

 forty-five (45) days to permit the parties to engage in good faith discussions about the

 appropriateness of having a sale at all and exploring the possibility of a consensual plan.

                                  RESERVATION OF RIGHTS

        11.     The Committee expressly reserves the right: (a) to supplement this Objection at

 any time prior to the hearing on the Bid Procedures and Sale Motion, and (b) to raise additional

 or further objections to the Bid Procedures and Sale Motion at any hearing on the Bid Procedures

 and Sale Motion.

                                           CONCLUSION

       WHEREFORE, for the reasons set forth above, the Committee (a) respectfully requests

 that the hearing on the Bid Procedures and Sale Motion be continued for a period of forty-five

 (45) days, without prejudice to the Committee seeking further extensions, and in the alternative,

 (b) objects to the relief sought in the Bid Procedures and Sale Motion; and (c) respectfully

 requests that the Court grant such other and further relief as the Court may deem just and proper.

 Dated: September 13, 2019                          Respectfully submitted,

                                                    ROSS & SMITH, PC

                                                    By:     /s/ Rachael L. Smiley
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                                                    -and-


                                                    5
Case 19-43402-mxm11 Doc 109 Filed 09/13/19   Entered 09/13/19 12:44:18     Page 6 of 7



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                                        COMMITTEE OF UNSECURED CREDITORS




                                       6
Case 19-43402-mxm11 Doc 109 Filed 09/13/19               Entered 09/13/19 12:44:18     Page 7 of 7




                                  CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the above and foregoing document was

 served on September 13, 2019 via court ECF Notice on (i) Counsel to the Debtor; (ii) Office of the

 United States Trustee; and (iii) all parties receiving ECF Notice in this case.



                                                        /s/ Rachael L. Smiley
                                                          Rachael L. Smiley




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